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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 REX CLAY,                                    )
                                              )
                 Plaintiff,                   )
                                              )
          vs.                                 )
                                              ) Case No. 1:15-cv-0075-TWP-DKL
                                              )
 MARTIN MARIETTA MATERIALS,                   )
 INC.,                                        )
                                              )
                 Defendant.                   )
                                              )
                                              )

                      ORDER ON JOINT STIPULATION OF DISMISSAL

          This cause came before the Court upon the Joint Stipulation of Dismissal with Prejudice.

 All parties who have appeared in this action have stipulated that this action be dismissed with

 prejudice.

          IT IS THEREFORE ORDERED that this action be, and hereby is, dismissed with

 prejudice and each party shall bear its own fees and costs.



 Dated:     5/19/2016
                                                      ________________________
                                                      Hon. Tanya Walton Pratt, Judge
                                                      United States District Court
 Distribution:                                        Southern District of Indiana

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